 

“herein, and alleges as follows:

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IN THE CIRCUIT COURT
FOR MONTGOMERY COUNTY, MARYLAND

TERESITA VIDELA

12650 Grey Eagle Court
Apartment 22

Germantown, Maryland 20874

Plaintiff,

vs. Case No.
ROSS STORES, INC.

8333 Central Avenue
Newark, California 94560

RECEIVED

SERVE ON:

The Corporation Trust ;

32 South Street MAR 15 2021
Beresduore, Meryeens tern Clerk of the Circuit Court

Montgomery County, Md.
Defendant.

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COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff, Teresita Videla, by undersigned counsel, hereby

files this Complaint against Ross Stores,. -Inc.;---Defendant™ ~~

I. JURISDICTION AND VENUE
1. Plaintiff invokes the jurisdiction of this Court
pursuant to Md. Code Ann., Cts. and Jud. Proc. Article, § 6-101
et seq...
2. Venue is proper in this Court pursuant to Md. Code

Ann., Cts. & Jud. Proc. Article, §§ 6-201 and 6-202.

EXHIBIT

if

 

 
 

Rockville, Maryland 20852

 

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3. The amount in controversy herein exceeds the sum of

$75,000.00, exclusive of interest and costs.
II. PARTIES

4. Teresita Videla (“Videla”) is a citizen of the State
of Maryland with a residence in Montgomery County at 12650 Grey
Eagle Court, Apartment 22, Germantown, Maryland 20874.

e. Ross Stores, Inc. (“RSI”) is a California based
Corporation with its principal place of business located at 8333
Central Avenue, Newark, California 94560. Upon information and
belief, Ross Stores, Inc. operates many retail stores throughout
Maryland, one of which is the Ross Dress for Less located at
12270 Rockville pike, Rockville, Maryland 20852. -

III. FACTS
6. On or about August 18, 2020, Videla was an invitee at

the Ross .Dress for Less located at 12270 Rockville Pike,

the store, she slipped on liquid that had accumulated on the
floor causing her to fall to the ground and sustain profound and
painful injuries to her wrist, hand, arm, ankle, knee, leg,
back, and body. As a result of the injuries sustained, Videla
was forced to incur substantial medical bills. As of the date of
the filing of this Complaint, Videla is still experiencing

periodic pain and discomfort as result of the injuries she

x

 

(“Premises”). As Videla_ was walking. in ..

 
 

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sustained as a result of her fall on August 18, 2020 and may be
in need of future medical care.

7. At all times prior to her fall, Videla maintained a
proper and vigilant outlook as she walked through the Premises
and her actions in no way contributed to her fall. To the
contrary, Videla’s injuries were solely the resuit of the
unreasonable acts and omissions of Defendant, RSI.

8. Prior to this accident, RSI knew or should have known
that (1) liquid had accumulated on the floor of the store where
Videla fell; and (2) no adequate warning were posted to alert

patrons, like Videla, of the dangerous condition of the liquid

on the floor of the Premises. Notwithstanding said knowledge and

‘notice, RSI failed to take reasonable actions to prevent and/or

cure the hazardous conditions which it knew or should have known
could result in injuries to its customers.

counr i...
a (Negligence)
9. Plaintiff hereby incorporates by reference the
allegations contained in paragraphs 1-8.
10. RSI, at all times material to this Complaint, was in
possession, custody and control of the property known as Ross
Dress for Less located at 12270 Rockville Pike, Rockville,

Maryland 20852. As such, RSI owed a duty to Videla, and all

invitees who were lawfully on the premises, to properly maintain

 

 
 

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the walkways on the Premises free from the dangerous
accumulation of liquid which could cause injury. RSI also had a
duty to warn Videla, and all other patrons lawfully entering
onto the property, of any defects, dangers or other hazardous
conditions which existed on the property.

11. On or about August 18, 2020, RSI breached the duties
of care it owed to Videla by failing to (1) take reasonable
actions to ensure that the floors on the Premises were free from
the dangerous accumulation of liquid; and (2) warn Videla, and
other patrons lawfully on the Premises, of the aforementioned
dangerous conditions of which it knew or should have known
existed as of the time of Videla’s fall.

12. As a result of RSI’s breaches of the duties of care
owed to Videla, Videla sustained substantial damages.

WHEREFORE, Plaintiff, Teresita Videla, prays that the Court

enter judgment in her favor and against Defendant, Ross Stores,

Inc., for compensatory damages in the amount exceeding
$75,000.00, with the exact amount to be determined at trial,
plus pre-judgment interest, costs, and such other and further

relief as justice may require.

 

 
 

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Respectfully submitted,

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Attorneys for Plaintiff,
Teresita Videla

JURY TRIAL DEMANDED

Plaintiff hereby demands and request that all claims,

actions and causes of action set forth herein be tried before a

jury.

 

Wocthew T. Holley”

 

 
